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                           EXHIBIT 13
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 1                          UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
 2
       - - - - - - - - - - - - - X
 3
       UNITED STATES OF AMERICA,          : 12CR00134(BMC)
 4                                        :
                                          :
 5                                        :
                -against-                 : United States Courthouse
 6                                        : Brooklyn, New York
                                          :
 7                                        :
       ADNAN HAUSA,                       : Monday, February 6, 2017
 8                                        : 2:15 P.M.
                  Defendant.              :
 9                                        :
                                          :
10
       - - - - - - - - - - - - - X
11
              TRANSCRIPT OF CRIMINAL CAUSE FOR DAUBERT HEARING
12                   BEFORE THE HONORABLE BRIAN M. COGAN
                        UNITED STATES DISTRICT JUDGE
13
                               A P P E A R A N C E S:
14
      For the Government: ROBERT L. CAPERS, ESQ.
15                           United States Attorney
                             Eastern District of New York
16                             271 Cadman Plaza East
                               Brooklyn, New York 11201
17                        BY: SHREVE ARIAIL, ESQ.

18

19

20

21    Court   Reporter:        SOPHIE NOLAN
                               225 Cadman Plaza East/Brooklyn, NY    11201
22                             NolanEDNY@aol.com

23    Proceedings recorded by mechanical stenography, transcript
      produced by Computer-Aided Transcription.
24

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                                 SN     OCR      RPR
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                             Kohlmann - cross - Dratel                       70


 1    Zubaydah had a reciprocal training agreement with Bin Laden,

 2    but that up until a certain point, that that was, it was not,

 3    per se, an al-Qaeda facility.

 4                So, that's kind of, here I'm measuring sources and

 5    the information from those sources against each other, trying

 6    to get to the exact definition of what Abu Zubaydah's role or

 7    relationship was with al-Qaeda.       I guess you call it the

 8    subtleties.

 9    Q     Now, in your report at page 4, okay?

10                MR. DRATEL:    Withdrawn.    Withdrawn.

11    Q     In the Babar Ahmad case, you included a section of

12    testimony from Jamal al-Fadl; correct?

13    A     Correct.

14    Q     And that was what's called the embassy bombings trial;

15    right?

16    A     Correct.

17    Q     United States versus Usama Bin Laden?

18    A     Correct.

19    Q     Tried in the Southern District of New York in 2001.

20    A     Correct.

21    Q     And you cite a piece of transcript in the Babar report,

22    right?

23    A     Correct.

24    Q     And in brackets -- and if you need the report, I have it

25    for you.    In bracketing -- well.



                       SAM      OCR      RMR     CRR        RPR
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                             Kohlmann - cross - Dratel                        71


 1                 I'm going to just read you a sentence from the

 2    testimony, but also as it appears in your report in Babar.

 3    And this is Jamal al-Fadl testifying:        We went to the hotel

 4    for two days and somebody come, he give us a little lecture

 5    about what going inside the war and about Jihad and about --

 6    and then there are brackets and it's al-Qaeda, right?

 7                 And then, later on, after an ellipsis, it says:           He

 8    tells us about -- brackets, al-Qaeda -- if you go inside what

 9    you have to do and what going on inside Afghanistan.

10                 Now, he didn't say al-Qaeda or al-Qaeda, did he?

11    A     Correct.

12    Q     He said:   The rule; correct?

13    A     Correct.

14    Q     And you put al-Qaeda in there.

15    A     In brackets, yes, correct.

16    Q     Yes.

17    A     Correct.

18    Q     So, you changed the transcript.        There's no footnote that

19    you change anything, right?

20    A     No, that's not.

21    Q     You just put al-Qaeda there.

22    A     No, the brackets are an editing mark.

23    Q     So, you say the rule means al-Qaeda, right?

24    A     No, no, this was a mistake.        What I'm suggesting to you

25    is this was just an editing mistake.



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                              Kohlmann - cross - Dratel                         72


 1    Q     It was an editing mistake that you repeated in the report

 2    you filed here two years later, right?

 3    A     Correct.

 4    Q     Okay.

 5                  MR. ARIAIL:    Objection, Your Honor.

 6    Q     So, you've done it again without any withdraw.         You

 7    didn't withdraw the report --

 8                  THE COURT:    Hang on Mr. Dratel.

 9                  MR. ARIAIL:    Objection in terms of the tone from

10    Defense Counsel; could be tone it down a little bit.

11                  MR. DRATEL:    I'm sorry.

12    Q     You didn't change it did you?

13    A     That's correct.

14    Q     In fact, this Daubert was filed in this case two months

15    ago, right?

16    A     I am not sure about that, but I take your word for it.

17                  THE COURT:    Can I know, what is the mistake?       That

18    it is not al-Qaeda?

19                  MR. DRATEL:    That it's not al-Qaeda.    It's the rule.

20                  THE COURT:    I am asking him.

21                  THE WITNESS:    The mistake, Judge, is that when I --

22    Jamal al-Fadl doesn't speak English terribly fluently.           When I

23    initially read the transcript I understood that he was

24    referring to al-Qaeda.        When he was saying "the rule," I

25    understood that he was trying to refer to al-Qaeda.



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                            Kohlmann - cross - Dratel                         73


 1                In retrospect I don't think necessarily that's the

 2    case or I don't know that that is the case; however, it has no

 3    material impact on what I was trying to get out of that

 4    passage, which was the use of guesthouses.

 5                Jamal al-Fadl is a sworn al-Qaeda member.

 6    Obviously, he's talking about al-Qaeda.           But in this case it

 7    would have been more appropriate for me to have left it as the

 8    rule and I put the editing mark.         I put the brackets.

 9                THE COURT:    Why did it wind up in this report in my

10    case when you had already committed the error earlier?

11                THE WITNESS:    It was a mistake on my part, I was not

12    even aware of it being in there.

13                MR. DRATEL:    May I resume, Your Honor?

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15                (Continued on following page.)

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